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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                      CASE NO.:

  DAVID WILLIAMS and CAROLL ANGLADE,
  individually and on behalf of all others
  similarly situated,

        Plaintiffs,

  v.

  RECKITT BENCKISER LLC and
  RB HEALTH (US) LLC,

        Defendants.
                                                       /


                                            COMPLAINT

         Plaintiffs David Williams and Caroll Anglade (collectively “Plaintiffs”), by and through

  undersigned counsel, and on behalf of themselves and all others similarly situated, allege as

  follows against Defendants Reckitt Benckiser LLC and RB Health (US) LLC (collectively,

  “Defendants”), based upon personal knowledge as to themselves and their own acts and

  experiences and, as to all other matters, upon information and belief, including investigation

  conducted by their attorneys:

                                         INTRODUCTION

         1.      Defendants Reckitt Benckiser LLC (“RB”) and RB Health (US) LLC (“RB

  Health”) designed and now manufacture, market, advertise, and sell Neuriva Original and

  Neuriva Plus, purported brain performance supplements.

         2.      It is no secret that brain health and cognitive performance are issues of concern to

  consumers of all ages and are important public health issues. It is, therefore, no surprise that




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  products promising improved brain performance, including improved memory and focus, are

  widely available in stores across the United States.1

         3.      In 2016, dietary supplements claiming to benefit the brain generated $3 billion in

  global sales.2 Brain health supplements are forecast to increase to $5.8 billion in sales by 2023.3

         4.      In order to capitalize on the ballooning and lucrative brain health supplement

  market, Defendants raced to bring Neuriva Original and Neuriva Plus (collectively, “Neuriva” or

  the “Neuriva Products”) to market in April 2019, promoting Neuriva to the public as a dietary

  supplement that is “clinically proven” to fuel “brain performance.” This statement is not true.

  Defendants have engaged in such deceptive conduct in order to compete in the saturated brain

  health supplement market, which is driven by consumers’ deep concern about this issue, which

  has in turn increased demand for brain health supplements across the United States.

         5.      In their efforts to exploit this market, Defendants have engaged in a uniformly

  deceptive advertising and marketing campaign including the product label and packaging,

  Defendants’ website, and other marketing materials, trumpeting that “science proved” that

  Neuriva’s ingredients provide brain-performance benefits to all consumers who use them.

  According to Defendants’ repeated statements in their advertising, marketing, and labeling,

  Neuriva’s ingredients are “backed by science” and “clinically proven” to improve consumers’

  focus, accuracy, memory, learning, and concentration.




  1
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7153641/.
  2
    Global Council on Brain Health, “The Real Deal on Brain Health Supplements: GCBH
  Recommendations on Vitamins, Minerals, and Other Dietary Supplements,” p. 2 (2019) (“Global Council
  on Brain Health”). Available at: www.GlobalCouncilOnBrainHealth.org.DOI:https://
  doi.org/10.26419/pia.00094.001.
  3
    Id. p. 2.



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         6.      In fact, on the front of the Neuriva Products’ packaging, Defendants tout that

  Neuriva contains “Clinically Proven Natural Ingredients” that improve brain performance in the

  areas of Focus, Memory, Learning, Accuracy, Concentration, and Reasoning.

         7.      Similarly, on the top label of the Neuriva Products’ packaging, Defendants state in

  bold letters: “It’s time to brain better.” And, on the side of the product packaging, Defendants

  state: “Nature made it. Science proved it. Brains love it. Our natural ingredients are GMO-free

  and clinically proven to enhance brain performance.”

         8.      To further promote their uniform message that Neuriva is clinically proven to

  enhance brain performance, on the front of the Neuriva Product packages, Defendants include a

  large picture of a brain, where it cannot be missed by consumers:




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         9.      Defendants’ representations are designed to induce consumers to believe that

  Neuriva has been proven as a matter of fact to provide meaningful brain performance benefits.

  And consumers purchase Neuriva solely for the purpose of obtaining these purported brain

  performance benefits.

         10.     The highly trumpeted active ingredients in Neuriva are Coffee Cherry Extract

  (also called “Neurofactor”) and Soy-based Sharp PS (Phosphatidylserine), both of which

  Defendants state are “clinically proven to enhance brain performance.”

         11.     In reality, Defendants have no scientific or clinical proof that Neuriva provides

  any benefit to the brain or that its key advertised ingredients can actually access the brain in

  sufficient amounts—or in any amount—to provide meaningful brain performance benefit.

  Defendants’ promises about Neuriva and their representations about Neuriva’s key ingredients

  are simply false or, in some instances, disturbingly misleading.




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             12.   Indeed, as the Global Council on Brain Health, a blue-ribbon collaborative panel,

  has emphasized: “Despite claims to the contrary, brain health supplements have not been

  established to maintain thinking skills or improve brain function.”4

             13.   In an effort to maximize profits, Defendants have capitalized on consumers’ focus

  on brain health and performance and fears of cognitive decline.

             14.   Plaintiffs bring this action individually and on behalf of all other similarly situated

  consumers to halt the dissemination of Defendants’ fraudulent and misleading representations, to

  correct the false and misleading perceptions that Defendants have created in the minds of

  consumers and to obtain redress for those who have actually purchased Neuriva.

                                                 PARTIES

             15.   Plaintiff David Williams is a resident and citizen of Homestead, Florida.

             16.   Plaintiff Caroll Anglade is a resident and citizen of Hialeah, Florida.

             17.   Defendants RB and RB Health are Delaware corporations with their principal

  places of business located in Parsippany, New Jersey. Defendants’ corporate parent is a British

  multinational company traded on the London Stock Exchange that reported net revenue of over

  £12.8 billion in 2019 alone. Its brand portfolio includes, among other products, Mucinex,

  Clearasil, Lysol, Air Wick, and Woolite.

             18.   In 2012, Defendant RB paid $1.4 billion to merge with Schiff Nutrition

  International, Inc. Schiff Nutrition was founded in 1936 as a small supplement company and

  grew into a multimillion-dollar vitamin and nutritional supplement company. RB’s acquisition of

  Schiff Nutrition allowed it to join the multibillion-dollar vitamins, minerals, and supplements

  market.



  4
      Id. at 20.



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            19.   Neuriva is a registered trademark of RB Health, and RB Health holds the

  copyrights for the Neuriva Product labeling and for the website through which Neuriva is

  marketed. RB Health also distributes the Neuriva Products and is identified as the manufacturer

  on Amazon.

            20.   Defendants advertise, market, distribute, and/or sell the Neuriva Products to

  consumers in Florida and in the Southern District of Florida, as well as throughout the United

  States.

                                     JURISDICTION & VENUE

            21.   This Court has general personal jurisdiction over Defendants because Defendants

  have purposefully availed themselves of the privilege of doing business within the State of

  Florida, including within this District; have had continuous and systematic general business

  contacts within the state, including within this District; and can be said to have reasonably

  anticipated being haled into court in this forum.

            22.   This Court has specific personal jurisdiction over Defendants because this action

  arises out of and relates to Defendants’ contacts with this forum. Specifically, Defendants

  knowingly directed the Neuriva Products through the stream of commerce into this District.

  Defendants have advertised and marketed within this District through the wires and mail and via

  e-commerce websites through which residents of this state and District can purchase the Neuriva

  Products. Further, Defendants knowingly direct electronic activity into this state and District

  with the intent to engage in business interactions and have in fact engaged in such interactions.

  Moreover, Defendants’ website directs each consumer to purchase Neuriva “at your local

  retailer,” including Walgreens, Walmart, CVS, Kroger, and Rite Aid, all of which have one or

  more locations in this District.




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          23.     This Court has original subject matter jurisdiction over this action under 28

  U.S.C. § 1332(d), which provides for the original jurisdiction of the federal district courts over

  “any civil action in which the matter in controversy exceeds the sum or value of $5,000,000,

  exclusive of interest and costs, and [that] is a class action in which . . . any member of a class of

  plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).

  Plaintiffs are diverse from Defendants, and the matter in controversy exceeds $5,000,000.00 in

  the aggregate, exclusive of interest and costs. Finally, “the number of members of all proposed

  plaintiff classes in the aggregate” is greater than 100. See 28 U.S.C. § 1332(d)(5)(B).

          24.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

  the events or omissions giving rise to Plaintiffs’ claims occurred within this District. Plaintiffs

  purchased Neuriva in this District and incurred losses in this District. Numerous other Class

  members also purchased the Neuriva Products in this District. Defendants caused the Neuriva

  Products to be offered for sale and sold to the public, including to Plaintiffs, in this District.

          25.     Venue is proper pursuant to 28 U.S.C. § 1391(c)(2) because this Court maintains

  personal jurisdiction over Defendants.

                                ADDITIONAL FACTUAL ALLEGATIONS

                                           Sales of Neuriva Products

          26.     Neuriva, which Defendants raced to market in only 12 months, is a growing

  leader in the brain supplement industry. Neuriva is now an Amazon best seller.

          27.     The Neuriva Product line includes two formulas—Neuriva Original and Neuriva

  Plus—that both contain coffee fruit extract and soy-based phosphatidylserine as active

  ingredients.

          28.     Neuriva Original contains the following ingredients:




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         29.    Neuriva Plus contains the following ingredients:




         30.    Defendants sell Neuriva online through their website, schiffvitamins.com, and in

  stores nationwide, including Walgreens, Walmart, CVS, Rite Aid, Sam’s Club, Target, and others,

  as well as on Amazon.

         31.    Since Defendants first started selling Neuriva, they have uniformly and

  continuously represented, on both product packaging and in product advertising, that Neuriva

  enhances brain health and performance.




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         32.     Defendants’ representations appear, among other places, on the Neuriva Product

  label and packaging; in television commercials; on Defendants’ web pages; in other online

  vending and marketing forums including sponsored videos on YouTube; and in product

  pamphlets and other literature distributed by Defendants.

         33.     Although Neuriva comes in two formulas, each formula is substantially similar to

  the other in form and in purported function and both are sold in substantially similar packages,

  with similar labels, making similar claims, and including similar instructions, as can be seen

  throughout this Complaint.

         34.     The omissions and misrepresentations identified in this Complaint are virtually

  identical across both formulations and the claims that form the basis of this action would be the

  same in all essential respects regardless which formula is considered. That is to say, the formulas

  are substantially similar and the means of deception is the same for both.

         35.     Defendants’ misrepresentations fall into two categories: (1) Defendants make

  health claims (e.g., enhanced brain performance) that are actually false, and (2) Defendants

  affirmatively represent that Neuriva’s purported beneficial effects are scientifically established

  (e.g., clinically proven). Both categories of representations are false and/or misleading.

         36.     Defendants intend for consumers to rely upon Defendants’ representations

  concerning the Neuriva Products’ brain health benefits and Defendants’ claims that the Neuriva

  Products’ ingredients are scientifically and clinically proven.

         37.     It is reasonable for consumers to rely upon Defendants’ representations

  concerning the Neuriva Products when deciding to purchase Neuriva Products.

         38.     Defendants’ representations concerning the Neuriva Products’ brain health

  benefits were developed with the intent to generate sales of the Neuriva Products.




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                         Defendants’ Representations about the Neuriva Products

          39.     Defendants have made uniform, express and implied representations concerning

   the benefits of the Neuriva Products. These representations include claims that the Neuriva

   Products are scientifically and clinically proven to improve brain function in specified ways and

   that oral consumption of the Neuriva Products will result in improved brain function.

          40.     Defendants’ express and implied representations concerning the Neuriva

   Products’ brain performance capabilities are uniform and pervade Defendants’ marketing.

          41.     The exterior of the Neuriva Original packaging claims that it has “clinically

   proven natural ingredients” and claims that the supplement “Fuels 5 indicators of brain

   performance” and lists the following: Focus, Memory, Learning, Accuracy, and Concentration.

   The label on the bottle itself states that it is “CLINICALLY PROVEN.”




          42.     The side of the Neuriva Original packaging elaborates on what Defendants claim

   the supplement will do as a matter of fact: “Our natural ingredients are GMO-free and clinically




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   proven to enhance brain performance.” Regarding Neuriva Original’s first main active

   ingredient, coffee cherry extract (which its ingredient list identifies as coffee fruit extract),

   Defendants claim on their packaging that it is “clinically proven to increase levels of the vital

   neuroprotein BDNF, known to strengthen connections between brain cells.” Regarding its second

   main active ingredient, phosphatidylserine, Defendants claim on the packaging that “[t]hese

   plant-sourced phospholipids make up the structure of neurons within the brain. Clinically proven

   to aid neuron health and fuel memory and learning ability.” Defendants prominently display on

   the packaging Neuriva’s tagline: “Nature made it. Science proved it. Brains love it.”




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          43.     The exterior of the Neuriva Plus packaging also advertises that it has “clinically

   proven natural ingredients” and claims that the supplement “Fuels 6 indicators of brain

   performance” and lists the following: “Focus,” “Memory,” “Learning,” “Accuracy,”

   “Concentration,” and “Reasoning.”




          44.     The side of the Neuriva Plus packaging elaborates on what Defendants claim the

   supplement will do as a matter of fact, which is identical to the claim made on the side panel of

   the Neuriva Original packaging: “Our natural ingredients are GMO-free and clinically proven to

   enhance brain performance.” Regarding the first main active ingredient, coffee cherry extract,

   Defendants again claim that it is “clinically proven to increase levels of the vital neuroprotein

   BDNF, known to strengthen connections between brain cells.” Regarding the second main active

   ingredient, phosphatidylserine, Defendants again claim that “[t]hese plant-sourced phospholipids




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   make up the structure of neurons within the brain. Clinically proven to aid neuron health and fuel

   memory and learning ability.” As with Neuriva Original, Defendants prominently display

   Neuriva’s tagline on the Neuriva Plus label: “Nature made it. Science proved it. Brains love it.”

   With respect to B6, B12, and Folic Acid, which Neuriva Plus also contains, Defendants claim

   they are “[k]ey nutrients to support brain health & cognitive function.”




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          45.     Through the representations on Defendants’ exterior packaging, Defendants

   represent to consumers that Neuriva improves focus, memory, learning, accuracy, concentration

   and, when they add vitamins B6, B12, and Folic Acid, reasoning. And Defendants further claim

   that Neuriva’s efficacy is scientifically and clinically proven.

          46.     Defendants repeat and expand on these deceptive representations on their website,

   www.SchiffVitamins.com. Their website includes the following representations, among others,

   concerning the Neuriva Products:

                  a. “Our new supplement combines the best of science and nature to help brains

                      brain better.”

                  b. “What makes our ingredients so special? Nature made it. Science proved it.

                      Brains love it.”

                  c. “Our natural ingredients are decaffeinated, GMO-free, gluten-free, and

                      clinically proven to support brain performance.”

                  d. “This extract is GMO-free and is decaffeinated, and it’s been shown to have

                      incredible brain-supporting properties.”

                  e. “We’ve studied this amazing superfruit [Coffee Cherry], and proven that it

                      elevates the body’s levels of the neuroprotein BDNF.”

                  f. “BDNF is vital neuroprotein that is known to strengthen connections between

                      brain cells, and help new connections flourish.”

          47.     If a consumer decides to buy Neuriva Original or Neuriva Plus on the Schiff

   website and clicks on the product, the website then shows another summary of purported brain

   performance benefits, which includes the claim that “Coffee Cherry Extract has been clinically

   proven to increase BDNF levels in the brain.”




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          48.     Defendants also encourage readers of their website to “visit our science &

   ingredients” webpage by asking: “What makes our ingredients so special?”




          49.     Under the title “Natural Ingredients Proven Through Science,” Defendants

   elaborate on their claims that Neuriva is scientifically proven through a series of rotating slides.

   After a person clicks on these slides, a pop-up window appears providing additional information:

                  a. After clicking the slide entitled “Tale of Two Neurons,” the pop-up window

                      states: “Your brain consists of approximately 86 billion neurons. And it does

                      its work by making connections between them. The two main ingredients in

                      Neuriva have been shown to support both; PSTM supports neuronal health, and

                      coffee cherry (Neurofactor) increases BDNF.”

                  b. After clicking the slide entitled “The Importance of BDNF,” the pop-up

                      window states: “[BDNF is] what your brain uses to strengthen connections

                      between neurons, and has been clinically shown to play a role in cognitive

                      performance and higher thinking. Maintaining higher levels of BDNF helps

                      ensure maximum support for your brain.”

                  c. After clicking the slide entitled Coffee Cherry,” the pop-up window states:

                      “This extract is GMO-free and is decaffeinated, and it’s been shown to have

                      incredible brain-supporting properties. We call it Neurofactor. We’ve studied

                      this amazing superfruit and proven that it elevates the body’s levels of



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                      neuroprotein BDNF. BDNF is a vital neuroprotein that is known to strengthen

                      connections between brain cells, and help new connections flourish.”

                  d. After clicking the slide entitled “Plant-Sourced Sharp PSTM,” the pop-up

                      window states: “Dietary trends show that PSTM intake from food and diet

                      alone has declined over the years so PSTM supplementation is a great way to

                      help support your brain and cognitive function! Our Sharp PSTM is sourced

                      from soybeans and the subject of many clinical studies proving its

                      effectiveness as a cognitive aid.”

          50.     Defendants also create and post videos on their dedicated YouTube.com channel,

   Neuriva Brain Performance, through which they market Neuriva. These videos are designed and

   intended by Defendants to communicate claims about Neuriva’s brain performance capabilities.

          51.     In the video entitled “What’s in Neuriva? Discover our natural ingredients to

   support brain health,” Defendants ask: “What’s the not so secret secret behind Neuriva? Our

   amazing clinically proven natural ingredients.” Defendants then continue to discuss their

   “clinically proven” ingredients. Regarding “Neurofactor” (a brand name for coffee cherry

   extract), Defendants claim it “helps increase your brain’s natural levels of BDNF, a key

   neuroprotein crucial to your overall brain health. Now what you really need to know is BDNF is

   known to support connections between brain cells and help new connections flourish.”

   Regarding “Sharp PS” (phosphatidylserine), Defendants claim it is “clinically proven to support

   memory and learning. This is a no-brainer because lipids make up 60% of your brain and act as

   the main building blocks of cell membranes. Healthy lipids enrich the brain making PS key for

   health cognitive functions.” Putting the ingredients together, Defendants claim that both active

   ingredients carry the imprimatur of science: “Neurofactor plus PS makes Neuriva an incredible




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   brain support option. It combines the best of science and nature to help your brain be there for

   you when you need it most, and fuel key indicators of brain performance.”

          52.     Defendants have extensively advertised Neuriva on television. A recent

   advertisement stated: “Do you want to brain better? Unlike ordinary memory supplements,

   Neuriva has clinically proven ingredients that fuel five indicators of brain performance: memory,

   focus, accuracy, learning, and concentration. Try Neuriva for 30 days and see the difference.”

          53.     Commercials have appeared on various popular networks.

          54.     Defendants also actively post marketing claims to an Instagram account. For

   example, a March 17, 2020, post utilizes the Jeopardy game show to emphasize Defendants’

   claim that Neuriva is clinically proven.




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           55.     Another Instagram post by Defendants asked: “Did you know that nutrient-rich

   coffee cherry (also known as Neurofactor) is proven to increase levels of BDNF in the brain?




           56.     On Twitter, Defendants claim, among other claims: “Let’s talk about

   Phosphatidylserine. Sharp PS, has been proven to support memory and learning in multiple

   clinical studies.”

           57.     Defendants also include descriptions next to their videos to emphasize their

   central uniform marketing message. For example, Defendants attempt to set Neuriva apart from

   competitors as a better supplement based on its “clinically proven” ingredients:




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          58.     The singular message throughout Defendants’ marketing of Neuriva is that

   Neuriva is scientifically and clinically proven, as a matter of fact, to increase brain performance.

   This overriding message promoted by Defendants has been and will continue to be read, heard,

   and understood by consumers whether they see it on television; research the product online

   through Defendants’ website or through another website (such as YouTube or Instagram); or read

   the Product packaging or labeling in a physical store, because this primary message is

   consistently repeated by Defendants across all utilized media.

      Defendants’ Representations are Deceptive and Misleading Because There is No Valid
            Scientific or Clinical Evidence Supporting Defendants’ Representations

          59.     In order for a claim to be considered scientifically and clinically proven, as

   Defendants claim for Neuriva, the claim must be widely accepted in its applicable field and have

   overwhelming evidence supporting it. Moreover, there must be a consensus in the scientific

   community agreeing with the representations. Such consensus would require, at a minimum,

   sufficiently large, randomized, controlled, double-blind studies that have been scrutinized by

   peer review during the publication process and subjected to scholarly debate by diverse panels of

   scientific experts. Additionally, scientific consensus requires that published results be




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   independently replicated by others using rigorous experimental design and data collection

   practices. If specific representations do not meet these standards, they cannot be considered to be

   “scientifically and clinically proven” nor can they be considered to have reached scientific

   consensus.5

          60.     There is no scientific consensus or scientific or clinical evidence that Neuriva will

   result in enhanced or increased brain performance or will otherwise support brain performance in

   any way.

          61.     Neuriva has two main active ingredients to which Defendants attribute its

   purported efficacy: coffee cherry extract and plant-sourced phosphatidylserine.

          62.     Both versions of the active ingredients that Defendants use in Neuriva are brand-

   name versions. Defendants’ supplier of coffee cherry extract has named the ingredient

   “Neurofactor,” while Defendants’ supplier of plant-sourced phosphatidylserine has named that

   ingredient “Sharp PS.”

          63.     In order to cause any improvement in brain performance, Neuriva must first be

   ingested. Then, its active ingredients must be absorbed into the bloodstream. From there, the

   active ingredients must circulate in the bloodstream, without being broken down, and ultimately

   cross the blood-brain barrier. Only after the active ingredients cross the blood-brain barrier can

   they potentially cause any improvement whatsoever to brain performance.

          64.     As the Global Council on Brain Health has emphasized: “When researchers study

   prescription drugs that have an effect on the brain, a key experiment that they perform is

   measuring how much of the drug taken (orally or through other routes) gets into the brain. Not


   5
    Bauchner H, Golub RM, Fontanarosa PB. Reporting and Interpretation of Randomized Clinical Trials.
   JAMA. 2019;322(8):732-735; Kirman CR, Simon TW, Hays SM. Science Peer Review for the 21st
   century: Assessing Scientific Consensus for Decision-making while Managing Conflict of Interests,
   Reviewer and Process Bias. Regul Toxicol Pharmacol. 2019;103:73-85.



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   all substances taken by mouth survive the strong stomach acid, and not all substances that persist

   beyond the stomach get absorbed into the blood. Even after absorption into the blood, the liver

   can further break down the substance, and the blood-brain barrier – the natural gatekeeper of the

   brain – may keep out what is left. Usually it is not known how much – if any – of the

   supplement people take gets into the brain.”6 Consequently, “a key step in using science to

   support any supplement’s benefit on brain health would be to study how much of each nutrient

   gets to the brain.”7

              65.     No valid scientific or clinical evidence exists regarding how much, if any, of

   Neuriva’s key ingredients reaches the brain. Because of this lack of evidence, Defendants’

   claims that Neuriva’s ingredients are scientifically and clinically proven to benefit the brain are

   patently false, as are Defendants’ claims that Neuriva is effective.

              66.     Instead of presenting actual scientific and clinical evidence giving rise to a

   scientific consensus that coffee cherry extract and plant-based phosphatidylserine in fact impact

   brain performance, Defendants created a deceptive and misleading infographic on their website

   that sets out Defendants’ essential claims and purported scientific support for Neuriva and its

   active ingredients but glosses over or misrepresents the lack of evidence that its active

   ingredients actually reach the brain or impact the function of the brain:8




   6
       Global Council on Brain Health at p. 20.
   7
       Id.
   8
       See https://www.schiffvitamins.com/blogs/health-wellness/ingredients-for-better-brain-health.



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                              No Scientific or Clinical Evidence Exists
                       That Coffee Cherry Extract Supports Brain Performance

          67.     According to Defendants, coffee cherry extract is one of the ingredients that

   “science proved,” “is clinically proven to increase levels of Brain-Derived Neurotrophic Factor

   (BDNF),” and “is clinically proved to increase BDNF levels in the brain.”9 Also according to

   Defendants, “[BDNF] has been widely studied and is known to support the survival of existing

   neurons and encourage the growth of new neurons.”10

          68.     Defendants’ claims that coffee cherry extract (also known as Neurofactor) is

   scientifically and clinically proven to improve brain performance and the implications in

   Defendants’ infographic purporting to support those claims are deceptive and misleading because

   coffee cherry extract does not and cannot increase BDNF levels in the brain.

          69.     Among other reasons that Defendants’ claims are false, BDNF cannot cross the

   blood-brain barrier. Therefore, it is scientifically implausible that BDNF could survive

   circulation in the bloodstream and be transported across the blood-brain barrier in a quantity

   sufficient to provide any meaningful impact on brain performance.

          70.     The blood-brain barrier acts as a sort of security system for the brain. The blood-

   brain barrier is highly selective and ensures that only specific substances are allowed to cross and

   gain access to brain tissue. There is no evidence, let alone scientific or clinical proof, that any

   increase of BDNF in the blood, such as may be caused by coffee cherry extract, will result in

   measurable BDNF transport across the human blood-brain barrier and, subsequently, increase the

   concentration of BDNF in brain tissue.



   9
     See https://www.schiffvitamins.com/products/neuriva-original-brain-performance-clinically-proven-
   brain-supporting-supplement-with-natural-ingredients.
   10
      See id.



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          71.     Consequently, there is no scientific or clinical evidence, let alone scientific or

   clinical proof, that coffee cherry extract that is orally ingested will increase BDNF in the brain

   and/or increase brain performance.

          72.     In addition to their false claims regarding coffee cherry extract, Defendants

   intentionally misled consumers by juxtaposing (a) assertions that clinical studies show that

   coffee cherry extract stimulates the production of BDNF and can increase BDNF levels in the

   plasma in 90 minutes with (b) statements such as “BDNF has an important role in maintaining

   the health of existing brain cells, inducing the growth of new neurons and synapses and

   supporting overall cognitive function, including memory and learning.” (Bold in original) A

   reasonable consumer would be misled into understanding these two juxtaposed claims to mean

   that coffee cherry extract can improve cognitive functions by increasing levels of BDNF in the

   blood when, in fact, there is no scientific or clinical evidence that increased plasma levels of

   BDNF can increase BDNF levels in the brain.

                                    No Scientific or Clinical Proof
                   That Plant-Based Phosphatidylserine Supports Brain Performance

          73.     Defendants’ claims that their second active ingredient, plant-sourced

   phosphatidylserine, is scientifically and clinically proven to improve brain performance also are

   deceptive and misleading.

          74.     First, no scientific consensus exists that there is clinical and scientific proof that

   the soy-derived phosphatidylserine in Neuriva will in fact positively affect brain functions.

   Defendants’ claims—such as the one on their website that “PS has been heavily researched and is

   known to support proper functioning of the nerve cells in the brain” (bold in original)—are

   misleading. Soy-based phosphatidylserine, such as that used in Neuriva, has not been heavily




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   researched, and it has not been scientifically established that soy-based phosphatidylserine

   benefits the brain.

             75.     Defendants fail to disclose to consumers that the “heavily researched” form of

   phosphatidylserine is animal-derived phosphatidylserine, which is distinct from the soy-based

   phosphatidylserine present in Neuriva. The molecular composition of soy-based

   phosphatidylserine, the ingredient contained in Neuriva, is different from the molecular

   composition of animal-derived phosphatidylserine, and research on animal-derived

   phosphatidylserine cannot support any claim that soy-based phosphatidylserine will improve

   brain performance.

             76.     There is no consensus in the scientific community, based on the limited and

   inconclusive research to date, that soy-based phosphatidylserine can improve brain performance

   generally, much less “Focus,” “Memory,” “Learning,” “Accuracy,” “Concentration,” and

   “Reasoning.”.

             77.     Defendants’ assertion that the phosphatidylserine in Neuriva has been clinically

   proven to support memory and learning in multiple clinical studies is deceptive and misleading.

             78.     The Global Council on Brain Health, after reviewing the scientific literature, has

   concluded: “There is not enough evidence for recommending the use of phosphatidylserine for

   brain health, mental functioning, or prevention or treatment of Alzheimer’s disease.”11

             79.     The United States Food and Drug Administration has taken the position that

   “there is little scientific evidence supporting [the] claim” that “[c]onsumption of

   phosphatidylserine may reduce the risk of cognitive dysfunction in the elderly.” Further, it is the




   11
        Global Council on Brain Health p. 20.



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   FDA’s position that “there is little scientific evidence supporting [the] claim” that

   “[c]onsumption of phosphatidylserine may reduce the risk of dementia in the elderly.”

          80.     Even if there were evidence that soy-based phosphatidylserine in fact improves

   brain function, which there is not, there is no scientific consensus and clinical studies have not

   scientifically established that the amount of soy-based phosphatidylserine contained in

   Neuriva—100mg—would provide any meaningful improvement in brain performance or that

   taking Neuriva for 30 days, as advertised, can make any difference in brain function.

                                   No Scientific or Clinical Evidence
                                   Exists of Neuriva’s Effectiveness

          81.     When a drug or supplement has more than one active ingredient, as Neuriva does,

   all active ingredients must be studied in conjunction with one another in order to determine

   whether the active ingredients in combination still provide the benefits stated in the specific

   claim or claims. This is important because the active ingredients may diminish each other’s

   effectiveness or produce unexpected consequences.

          82.     The FDA has emphasized that even if a manufacturer can point to a study

   substantiating its claims as to one ingredient contained in its supplement, “[m]anufacturers

   should be aware that other substances . . . included in the dietary supplement product itself

   might also affect the dietary supplement’s performance or the study results.”12

          83.     Neuriva has two active ingredients: coffee cherry extract and phosphatidylserine.

   There is no valid scientific or clinical evidence that these two active ingredients, when combined,

   improve brain function or are safe for concurrent consumption.




   12
     See https://www.fda.gov/regulatory-information/search-fda-guidance-documents/ guidance-industry-
   substantiation-dietary-supplement-claims-made-under-section-403r-6-federal-food.



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           Defendants’ Citation to Studies Purportedly Supporting Their Product Claims are
                                 Deceptive and Misleading Statements

             84.     On the Neuriva website, after repeatedly claiming that Neuriva’s ingredients are

   scientifically and clinically proven, Defendants urge consumers “to do your research” and

   “[w]hen choosing a supplement, look for products that have science backing their ingredients.”

   Defendants then list the following five “[r]eferences” to scientific literature:13




             85.     By citing to purportedly scientific and/or clinical literature, Defendants intend to

   communicate to consumers that Neuriva is scientifically and clinically proven by these five

   scientific references to support brain performance. Defendants’ implication that these references

   support their claims is deceptive and misleading.

             86.     The five cited references do not provide any scientific or clinical proof for

   Defendants’ claims. Rather, these references directly undermine Defendants’ claim that Neuriva

   is scientifically and clinically proven to improve brain function.


   13
        See https://www.schiffvitamins.com/blogs/health-wellness/ingredients-for-better-brain-health.



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           87.     First, Defendants cite to a 2013 study conducted by employees of the company

   that owns and sells Neurofactor (the coffee cherry extract) entitled “Stimulatory Effect of Whole

   Coffee Fruit Concentrate Powder on Plasma Levels of Total and Exosomal Brain-Derived

   Neurotrophic Factor in Healthy Subjects: An Acute Within-Subject Clinical Study.”14 The

   conclusion reached in this study was that “whole coffee fruit concentrate” increased BDNF in

   blood plasma. This study did not show any increase in BDNF in the brain or provide any

   evidence that BDNF in blood plasma could cross the blood-brain barrier and achieve

   concentrations in brain tissue that could improve brain performance. The study also noted further

   research was necessary, which further shows that Defendants’ claim that coffee cherry extract is

   scientifically and clinically “proven” is false.15 Specifically, the studies’ authors end the article

   with an explanation that “[f]urther studies are needed” and that “it would be interesting to study

   the effect of [whole coffee fruit concentrate] on BDNF-mediated brain functionalities such as

   cognitive activity....”16 In other words, the study itself acknowledged that it did not address

   whether coffee cherry extract affects brain performance. Accordingly, Defendants’ citation of

   this study is deceptive and misleading.

           88.     Second, Defendants cite to a 2013 study entitled “Modulatory effect of coffee

   fruit extract on plasma levels of brain-derived neurotrophic factor in healthy subjects,” a study

   also conducted by employees of the company that markets Neurofactor.17 The conclusion

   reached in this study was again only that “whole coffee fruit concentrate” increased BDNF in



   14
      See https://www.researchgate.net/publication/260944035_Stimulatory_Effect_of_Whole_ Coffee_ Fruit_
   Concentrate_Powder_on_Plasma_Levels_of_Total_and_Exosomal_Brain-Derived_Neurotrophic_Factor_
   in_Healthy_Subjects_An_Acute_Within-Subject_Clinical_Study
   15
      Id.
   16
      Id.
   17
      See https://www.cambridge.org/core/services/aop-cambridge-core/content/view/8B291E8D0531
   43AA5A8D33B65496B034/S0007114512005338a.pdf/modulatory_effect_of_coffee_fruit_extract_on_pl
   asma_levels_of_brainderived_neurotrophic_factor_in_healthy_subjects.pdf.



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   blood plasma. This study did not show any increase of BDNF in the brain or that an increase in

   blood plasma BDNF results in enhanced BDNF delivery across the blood-brain barrier.

   Furthermore, this study provided no data in support of the assertion that coffee fruit extract could

   provide beneficial effects in the brain due to elevated BDNF plasma levels. This study also noted

   the need for “larger clinical studies” simply “to support” a possibility that whole coffee fruit

   concentrate might be “used for modulation of BDNF-dependent health conditions,” without any

   reference to the brain.

             89.    Third, Defendants cite to a 2019 literature review entitled “A simple role of

   BDNF in learning and memory?”18 Far from supporting Defendants’ claim that Neuriva’s active

   ingredients when orally ingested are scientifically and clinically proven to improve brain

   performance, this review notes that “[l]ack of a precise knowledge about the mechanisms by

   which BDNF influences higher cognitive functions and complex behaviors may constitute a

   severe limitation in the possibility to devise BDNF-based therapeutics for human disorders of the

   CNS.” Nothing in this recent review supports Defendants’ claim that coffee cherry extract (also

   known as Neurofactor) can increase BDNF in the brain or affect brain performance.

             90.    Fourth, Defendants cite to an article entitled “Treatment of age-related decline in

   cognitive capacities: The effects of phosphatidylserine” contained in a 1998 book that is now out

   of print. The results of this study have been described as controversial, involved

   phosphatidylserine dosages three times larger than contained in Neuriva, and looked at only at a

   limited population. This article does not support Defendants’ claim that plant-derived

   phosphatidylserine is clinically proven to improve brain performance or that Neuriva can

   increase brain performance.



   18
        See https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2821174/



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             91.    Fifth, Defendants cite to a 2014 literature review entitled “Phosphatidylserine in

   the brain: metabolism and function.”19 This review establishes, contrary to Defendants’ claims,

   that it is far from clear whether soy-based phosphatidylserine can increase brain performance:

   “[E]xperimental evidence indicating that orally or intravenously administered PS actually alters

   neuronal membrane properties is lacking. How the administered PS is transported in the plasma,

   how much enters the brain, whether it is taken up intact, and whether it is incorporated into

   neurons or glia are not known.... These issues will have to be investigated in order to obtain

   some mechanistic insight into how dietary or intravenously administered PS supplements

   function to produce cognitive improvement.” This literature review shows that Defendants’

   claims of scientific and clinical proof regarding the ability of soy-based phosphatidylserine to

   affect brain performance are deceptive and misleading.

             92.    The lack of scientific and clinical support for Defendants’ claims regarding

   Neuriva is hardly surprising to anyone versed in the science. As the Global Council on Brain

   Health emphasized in a Consensus Statement: “Very few supplements have been carefully

   studied for their effect on brain health. For the handful that have been researched, several well-

   designed studies of supplements for brain health found no benefit in people with normal nutrient

   levels. It’s unclear whether people with nutritional deficiencies can benefit their brains by taking

   a supplement because the research is inconclusive.”20

                             Defendant RB’s Chief Scientific Officer Admits
                           Defendants’ Marketing is Deceptive and Misleading

             93.    Defendants’ persistent and uniform marketing message is that Neuriva is

   scientifically and clinically proven to improve brain performance as a matter of fact. This



   19
        See https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4258547/
   20
        Global Council on Brain Health at p. 4.



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   message conveys to consumers that scientists have reached a consensus through clinical research

   that Neuriva’s ingredients will improve consumers’ brain performance. This message is

   deceptive and misleading as implicitly acknowledged by Defendant RB’s Chief Scientific

   Officer, Dr. Dirk Hondmann.

           94.     In Defendants’ press release dated April 24, 2019,21 Dr. Hondmann claims only

   that “Neuriva’s ingredients are supported by clinical studies”—as opposed to being proven—and

   also acknowledges that the Products need more testing: “But this is just the beginning – the team

   is committed to continuing to advance the education and science even further.”

           95.     In addition, in an interview published on May 6, 2019, shortly after Defendants

   first began marketing Neuriva, Dr. Hondmann said with regard to Neuriva’s ability to improve

   brain function: “There are several studies supporting the effectiveness of the ingredients in

   Neuriva. While both ingredients have similar mechanisms of action we are eager to continue to

   invest in clinical research of the individual components and investigate studies on the complete

   product.”22

           96.     Dr. Hondmann’s more limited claim that there are only studies “supporting” the

   effectiveness of the ingredients in improving brain function is deceptive in and of itself and is

   also an acknowledgement that the effectiveness of the Neuriva ingredients has not yet been

   proven. Scientifically, the mere existence of studies “supporting” the effectiveness of an

   ingredient does not “prove” that the ingredient is effective, although this distinction is not readily

   apparent to the average consumer, particularly when bombarded with marketing and label claims

   of clinical and scientific proof.


   21
      See https://www.prnewswire.com/news-releases/its-time-to-brain-better-rb-launches-neuriva-a-dietary-
   supplement-and-holistic-approach-to-support-brain-health-300837523.html.
   22
      See https://www.nutraingredients-usa.com/Article/2019/05/06/Reckitt-Benckiser-throws-hat-in-
   nootropic-ring-with-Neuriva-launch#.



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          97.     Dr. Hondmann further acknowledged that the effectiveness of the ingredients had

   not yet been proven—contrary to Defendants’ uniform marketing claims—by stating that

   Defendants needed to fund further research on the ingredients.

          98.     Dr. Hondmann also acknowledged that the effectiveness of Neuriva itself had not

   been proven—contrary to the implications of Defendants’ uniform marketing claims—because

   clinical research needs to be done on Neuriva itself.

          99.     By acknowledging the need for further research on Neuriva’s core ingredients and

   on Neuriva itself, Defendant RB’s Chief Scientific Officer admitted that Neuriva does not have

   the consensus of the scientific community necessary to state that Neuriva is scientifically or

   clinically “proven” to improve brain performance.

                              Impact of Defendants’ Wrongful Conduct

          100.    As the manufacturer and distributor of Neuriva, Defendants possess exclusive and

   specialized knowledge regarding Neuriva’s content and the effects of its ingredients as well as

   the state of scientific and clinical research regarding Neuriva’s ingredients. As a result,

   Defendants are in a superior position to know whether Neuriva works as they claim in their

   marketing on the Products’ packages and labels.

          101.    Defendants knew, but failed to disclose, or should have known, that Neuriva is not

   scientifically or clinically proven to improve brain performance as advertised because Neuriva

   itself has not been studied.

          102.    Defendants knew, but failed to disclose, or should have known, that coffee cherry

   extract (also known as Neurofactor) has not been scientifically or clinically proven to improve

   brain performance and that even if orally-ingested coffee cherry extract increases levels of




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   BDNF in the blood plasma, BDNF cannot cross the blood-brain barrier and impact brain

   performance.

          103.    Defendants knew, but failed to disclose, or should have known, that soy-based

   phosphatidylserine is not scientifically or clinically proven to improve brain performance as

   advertised; that very little research has been done on soy-based phosphatidylserine; that soy-

   based phosphatidylserine is molecularly different than animal-derived phosphatidylserine; that

   the overwhelming bulk of the research has been done on animal-derived phosphatidylserine

   rather than soy-based phosphatidylserine; and that even if soy-based phosphatidylserine could

   have an impact on brain function, it would not show any brain impact within 30 days as

   advertised.

          104.    Defendants knew, but failed to disclose, that their five references to scientific

   literature do not support, and in several cases directly refute, Defendants’ assertions that Neuriva

   and its ingredients are scientifically and clinically proven.

          105.    Defendants knew, but failed to disclose, that some of their cited studies are funded

   by those who have a direct financial incentive in producing positive results.

          106.    Defendants affirmatively represented that there was scientific and clinical proof

   for Neuriva’s improved brain performance claims when there is no scientific or clinical

   consensus regarding those claims.

          107.    Plaintiffs and the class members have been and will continue to be deceived or

   misled by Defendants’ false, misleading, and deceptive brain performance representations.

          108.    Defendants’ brain impact representations and omissions were a material factor in

   influencing Plaintiffs’ and the class members’ decision to purchase Neuriva. In fact, the only

   purpose for purchasing Neuriva is to obtain the represented brain performance benefits.




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           109.   Defendants market Neuriva solely for use as a supplement that improves brain

   performance. Defendants’ conduct has injured Plaintiffs and the class members because

   Defendants’ Neuriva cannot support or benefit brain performance as advertised and is worthless.

           110.   Had Plaintiffs and the class members known the truth about Defendants’ Neuriva

   products, they would not have purchased Neuriva and would not have paid the prices they paid

   for Neuriva.

           111.   Plaintiffs and each class member were harmed by purchasing Defendants’

   Neuriva because Neuriva is not capable of providing the claimed benefits to the brain. Plaintiffs

   and each class member lost money and property as a result of purchasing Defendants’ ineffective

   and worthless products.

           112.   Plaintiffs and each class member did not realize the benefit of the bargain and

   their expectations were not met. And Plaintiffs and each class member paid substantially more

   than the market value represented by the price bargained for.

           113.   By use of its misleading marketing and labeling, Defendants created increased

   market demand for Neuriva and increased their market share relative to what the demand for

   Neuriva and their market share would have been had Defendants marketed and labeled Neuriva

   truthfully.

           114.   Plaintiffs and the class members lost money as a result of Defendants’

   misrepresentations in that they did not receive what they reasonably believed they were paying

   for based upon the misrepresentations while Defendants realized a commensurate unearned gain

   because they did not deliver to Plaintiffs and the class members what Defendants led Plaintiffs

   and the class members to believe they would receive.




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         FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF DAVID WILLIAMS

          115.    Plaintiff David Williams purchased seven to eight bottles of Neuriva Original at

   Walmart in about January 2020. Prior to purchasing Neuriva Original, Plaintiff Williams was

   exposed to and saw and relied upon Defendants’ materially misleading representations in

   television commercials and on the Neuriva Original packaging. Based on Defendants’ claims,

   Plaintiff Williams believed that Neuriva Original would improve his brain performance and

   memory.

          116.    Plaintiff Williams experienced no improvement in his brain performance as a

   result of taking Neuriva Original.

          117.    Plaintiff Williams’ decision to buy Neuriva was directly impacted and caused by

   the materially misleading representations that Defendants made regarding Neuriva’s ingredients

   being clinically and scientifically proven and Neuriva’s ability to improve brain performance.

          118.    Had Plaintiff Williams known the truth about Defendants’ materially misleading

   representations and omissions, he would not have purchased Neuriva.

          119.    By purchasing Defendants’ falsely advertised Products, Plaintiff Williams

   suffered injury in fact and lost money.

        FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF CAROLL ANGLADE

          120.    Plaintiff Caroll Anglade purchased Neuriva on several occasions in 2019 at

   Walgreens, BJ’s Wholesale Club, and Costco Wholesale. She stopped using Neuriva in January

   2020. Prior to purchasing Neuriva, Plaintiff Anglade was exposed to and saw and relied upon

   Defendants’ materially misleading representations in Defendants’ advertisements and on the

   Neuriva packaging, including Defendants’ claims that Neuriva’s ingredients have the ability to

   improve brain performance.




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          121.    Plaintiff Anglade experienced no improvement in her brain performance as a

   result of taking Neuriva.

          122.    Plaintiff Anglade’s decision to buy Neuriva was directly impacted and caused by

   the materially misleading representations that Defendants made regarding Neuriva’s ingredients

   being clinically and scientifically proven and Neuriva’s ability to improve brain performance.

          123.    Had Plaintiff Anglade known the truth about Defendants’ materially misleading

   representations and omissions, she would not have purchased Neuriva.

          124.    By purchasing Defendants’ falsely advertised Products, Plaintiff Anglade suffered

   injury in fact and lost money.

                                    CLASS ACTION ALLEGATIONS

          125.    Pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure,

   Plaintiffs bring this action on behalf of a proposed Class defined as follows:

                  All persons residing in the state of Florida who purchased Neuriva
                  Original and/or Neuriva Plus for personal use and not for resale.
          126.     Excluded from the Class are: Defendants, Defendants’ board members, executive

   level officers, and attorneys, and immediate family members of any of the foregoing;

   governmental entities; the Court, the Court’s immediate family, and staff; and any person who

   timely and properly excludes himself or herself from the Class.

          127.    Plaintiffs reserve the right to alter the Class definition as necessary to the full

   extent allowed by the Federal Rules of Civil Procedure, the Local Rules of the United States

   District Court for the Southern District of Florida, and applicable precedent.

          128.    Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

   Plaintiffs can prove the elements of the claims on a class-wide basis using the same evidence that




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   individual Class members would use to prove those elements in individual actions alleging the

   same claims.

                                       Numerosity, Rule 23(a)(1)

          129.     The size of the Class is so large that joinder of all Class members is impracticable.

   Plaintiffs believe there are thousands or more members in the Class geographically dispersed

   throughout the State of Florida.

                 Existence and Predominance of Common Questions of Law and Fact,
                                       Rule 23(a)(2), (b)(3)

          130.     There are questions of law and fact common to the Class. These questions

   predominate over any questions that affect only individual Class members. Common legal and

   factual questions/issues include but are not limited to:

                   a. what representations Defendants have made regarding Neuriva over time;

                   b. the state of scientific and industry knowledge, including Defendants’

                      knowledge, regarding the ability of coffee cherry extract and/or plant-based

                      phosphatidylserine to improve brain performance;

                   c. whether Neuriva is capable of providing or in fact provides any of the

                      beneficial effects on brain performance that Defendants claim;

                   d. whether Neuriva is scientifically or clinically proven to have any beneficial

                      effects on brain performance, as Defendants claim;

                   e. whether Defendants’ representations and omissions regarding Neuriva are

                      false and/or misleading;

                   f. whether Defendants have engaged in false and/or misleading advertising,

                      marketing, packaging, and labeling in connection with Neuriva;




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                  g. whether Defendants knew or reasonably should have known that their

                      representations regarding Neuriva are false and misleading;

                  h. whether Defendants’ conduct was knowing and willful;

                  i. whether the Class members have been injured and the proper measure of their

                      damages as a result of their injuries; and

                  j. whether the Class members are entitled to other appropriate remedies,

                      including corrective advertising and injunctive relief.

           131.   Defendants engaged in a common course of conduct in contravention of the laws

   Plaintiffs seek to enforce individually and on behalf of the Class members. Similar or identical

   violations of law, business practices, and injuries are involved. Individual questions, if any, pale

   by comparison, in both quality and quantity, to the numerous common questions that

   predominate this action. Moreover, the common questions will yield common answers that will

   substantially advance the resolution of the case.

                                        Typicality, Rule 23(a)(3)

           132.   Plaintiffs’ claims are typical of the claims of the Class members because, among

   other things, Defendants injured all Class members through the uniform misconduct described

   herein; all Class members suffered injury due to Defendants’ misrepresentations; and Plaintiffs

   seek the same relief as the Class members.

           133.   There are no defenses available to Defendants that are unique to the named

   Plaintiffs.

                              Adequacy of Representation, Rule 23(a)(4)

           134.   Plaintiffs are fair and adequate representatives of the Class because Plaintiffs’

   interests do not conflict with the Class members’ interests. Plaintiffs will prosecute this action




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   vigorously and are highly motivated to seek redress against Defendants. Furthermore, Plaintiffs

   have retained competent counsel who are experienced in class action and other complex

   litigation. Plaintiffs and Plaintiffs’ counsel are committed to prosecuting this action vigorously

   on behalf of the Class and have the resources to do so. The interests of the Class members will

   be fairly and adequately protected by Plaintiffs and their counsel.

                           Declaratory and Injunctive Relief, Rule 23(b)(2)

          135.    Defendants have acted or refused to act on grounds generally applicable to

   Plaintiffs and the other Class members, thereby making appropriate final injunctive relief and

   declaratory relief with respect to the Class as a whole.

                                       Superiority, Rule 23(b)(3):

          136.    The class action mechanism is superior to other available means for the fair and

   efficient adjudication of this controversy for reasons including but not limited to the following:

                  a. The damages individual Class members have suffered are small compared to

                      the burden and expense of individual prosecution of the complex and

                      extensive litigation needed to address Defendants’ misconduct.

                  b. It would be virtually impossible for the Class members individually to redress

                      effectively the wrongs done to them. Even if Class members themselves could

                      afford such individual litigation, the court system could not. Individualized

                      litigation would unnecessarily increase the delay and expense to all parties

                      and to the court system and presents a potential for inconsistent or

                      contradictory rulings and judgments. By contrast, the class action device

                      presents far fewer management difficulties, allows the hearing of claims

                      which might otherwise go unaddressed because of the relative expense of




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                       bringing individual lawsuits, and provides the benefits of single adjudication,

                       economies of scale, and comprehensive supervision by a single court.

                   c. The prosecution of separate actions by individual Class members would create

                       a risk of inconsistent or varying adjudications, which would establish

                       incompatible standards of conduct for Defendants.

           137.    The prosecution of separate actions by individual Class members would create a

   risk of adjudications with respect to them that would, as a practical matter, be dispositive of the

   interests of other Class members not parties to the adjudications or that would substantively

   impair or impede their ability to protect their interests.

                                         CLAIMS FOR RELIEF

                                                COUNT I
                  Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                       Fla. Stat. § 501.201 et seq.
                    (On behalf of Plaintiffs individually and on behalf of the Class)

           138.    Plaintiffs repeat and reallege the allegations contained in the preceding paragraphs

   as if fully set forth herein.

           139.    This cause of action is brought pursuant to the Florida Deceptive and Unfair

   Trade Practices Act, Fla. Stat. § 501.201 et seq. (“FDUTPA”). The stated purpose of the

   FDUTPA is to “protect the consuming public . . . from those who engage in unfair methods of

   competition, or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade

   or commerce.” Fla. Stat. § 501.202(2).

           140.    Plaintiffs and all Class members are “consumers” and Defendants have engaged

   in “trade or commerce” as defined by FDUTPA. Fla. Stat. § 501.203(7)-(8).

           141.    FDUTPA declares unlawful “[u]nfair methods of competition, unconscionable

   acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or




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   commerce.” Fla. Stat. § 501.204(1). The FDUTPA also prohibits false and misleading

   advertising.

          142.    Defendants have violated the FDUTPA by engaging in the unfair or deceptive

   practices described in this Complaint, practices that offend public policies and are immoral,

   unethical, unscrupulous, and substantially injurious to consumers. Defendants’ unfair or

   deceptive practices as described herein are likely to mislead—and have misled—consumers

   acting reasonably in the circumstances.

          143.    Defendants engaged in unfair or deceptive practices by, among other things,

   making the false representations and omissions of material facts regarding Neuriva in their

   uniform advertising, including the packaging and labeling, as set forth more fully in this

   Complaint. In fact, Neuriva is not capable of conferring the brain performance benefits

   Defendants promised, and Defendants falsely claimed Neuriva’s benefits are scientifically and

   clinically proven when they are not.

          144.    Plaintiffs and the other Class members paid for a valueless product that is not

   capable of conferring the benefits promised. While Plaintiffs and the other Class members were

   harmed, Defendants were unjustly enriched by their false representations and omissions. As a

   result, Defendants’ conduct is “unfair.”

          145.    Plaintiffs and the members of the Class have in fact been deceived as a result of

   their reliance on Defendants’ material misrepresentations and omissions, which are described

   above. Plaintiffs and the Class acted reasonably when they purchased Neuriva based on their

   belief that Defendants’ representations were true and lawful.

          146.    In addition, the practices employed by Defendants, whereby Defendants sold,

   promoted, and marketed Neuriva with the deceptive representations described in this Complaint




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   constitute a per se violation of FDUTPA under Fla. Stat. § 501.203(3)(c) because they are in

   violation of the Florida Food Safety Act (“FFSA”), Fla. Stat. § 500.04 (1) and (2), in that the

   Neuriva Products are misbranded.

          147.    Defendants’ false, unlawful, and misleading product descriptions render its

   products misbranded under Florida law. Specifically, § 500.04 of the FFSA prohibits the

   manufacture, sale, or delivery of “misbranded food.” Neuriva is a dietary supplement, which

   meets the definition of “food” under the FFSA. Fla. Stat. § 500.03(n)(5). Food is “misbranded”

   when “its labeling is false or misleading in any particular.” Fla. Stat. § 500.11(1)(a). A food is

   considered mislabeled unless the proper disclosures are made “on the outside container or

   wrapper” on the product. Fla. Stat. § 500.03(1)(t). Misbranded products cannot be legally sold

   and are legally worthless.

          148.    Plaintiffs and the Class members have suffered injury in fact and lost money as a

   result of their purchases of Defendants’ Neuriva Products and Defendants’ unlawful, unfair, and

   fraudulent practices.

          149.    The harm suffered by Plaintiffs and the Class was directly and proximately caused

   by the deceptive, misleading, and unfair practices of Defendants, as more fully described in this

   Complaint.

          150.    Defendants knew, or should have known, that they have no scientific evidence for

   their claims of definitive scientific and clinical proof as set forth above. Defendants further

   knew, or should have known, that their material misrepresentations and omissions would be

   likely to deceive and harm the consuming public and result in consumers making payments to

   Defendants for Neuriva which is valueless and incapable of actually supporting, maintaining,

   improving, or benefiting brain performance.




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           151.    As a result of their deception, Defendants were unjustly enriched by receiving

   payments from Plaintiffs and the Class for Neuriva Products when they cannot perform as

   advertised and when there is no scientific or clinical evidence to support Defendants’ claims of

   definitive scientific and clinical “proof.”

           152.    Unless restrained and enjoined, Defendants will continue to engage in the

   unlawful, unfair, and fraudulent conduct described in this Complaint. Accordingly, injunctive

   relief is appropriate.

           153.    Plaintiffs, individually and on behalf of all others similarly situated, and on behalf

   of the general public, seek damages and restitution from Defendants of all money obtained from

   Plaintiffs and the other members of the Class collected as a result of Defendants’ deceptive or

   unfair practices, an injunction prohibiting Defendants from continuing and further engaging in

   their unlawful, unfair, and fraudulent conduct, requiring corrective advertising, and all other

   relief this Court deems appropriate.

           154.    In addition to seeking recovery of their attorneys’ fees and costs pursuant to Fla.

   Stat. § 501.2105, Plaintiffs and the Class seek a declaratory judgment pursuant to Fla. Stat. §

   501.211(1) that Defendants have knowingly violated FDUTPA because their representations are

   false and/or misleading in that the Neuriva Products cannot perform as advertised and there is no

   scientific or clinical evidence to support Defendants’ claims of definitive scientific and clinical

   “proof.” Plaintiffs and the Class further seek a declaratory judgment that the Neuriva Products

   are a misbranded food under Florida law, and therefore Defendants have committed per se

   violations of the FDUTPA.




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                                               COUNT II

                                         Unjust Enrichment
                  (On behalf of Plaintiffs individually and on behalf of the Class)

          155.    Plaintiffs repeat and reallege ¶¶ 1-137 as if fully set forth herein.

          156.    Plaintiffs and the Class conferred a non-gratuitous monetary benefit on

   Defendants when they purchased Neuriva. Defendants accepted and retained the non-gratuitous

   benefits conferred by Plaintiffs and the Class with full knowledge and awareness that, as a result

   of Defendants’ deceptive marketing, Plaintiffs and Class Members were not receiving products

   of the quality, nature, fitness, or value that had been represented by Defendants and reasonable

   consumers would have expected; in fact, the Neuriva Products they purchased were worthless.

          157.     By their wrongful acts and omissions described within this Complaint, including

   the deceptive marketing, packaging, labeling, distribution, and sale of the Neuriva Products as

   scientifically and clinically proven to improve brain performance, Defendants were unjustly

   enriched at the expense of Plaintiffs and Class Members.

          158.    Plaintiffs and Class Members’ detriment and Defendants’ enrichment were related

   to and flowed from the wrongful conduct challenged in this Complaint.

          159.    Defendants have profited from their unlawful, unfair, misleading, and deceptive

   practices at the expense of Plaintiffs and Class Members under circumstances in which it would

   be unjust for Defendants to be permitted to retain the benefit. It would be inequitable for

   Defendants to retain the profits, benefits, and other compensation obtained from their wrongful

   conduct as described herein in connection with the deceptive marketing, packaging, labeling,

   distribution, and sale of Neuriva.

          160.    Plaintiffs and the Class have been damaged as a direct and proximate result of

   Defendants’ unjust enrichment because they would not have purchased Neuriva had they known




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   that it does not improve brain performance and was not scientifically and clinically proven to do

   so.

          161.      Defendants knew and intended that Plaintiffs and the Class would make payments

   for Neuriva based on the belief that Neuriva was scientifically and clinically proven to improve

   brain performance, as represented by Defendants in advertising and marketing, on Defendants’

   website, and on the labels and packaging. It is inequitable for Defendants to retain the benefit of

   payments obtained through false and misleading representations.

          162.      Plaintiffs and the Class are entitled to recover from Defendants, and Defendant

   should be required to disgorge, all amounts wrongfully collected and improperly retained by

   Defendants.

          163.      As a direct and proximate result of Defendants’ wrongful conduct and unjust

   enrichment, Plaintiffs and the Class are entitled to restitution of, disgorgement of, and/or

   imposition of a constructive trust upon all profits, benefits, and other benefits obtained by

   Defendants for their inequitable and unlawful conduct.

                                             JURY DEMAND

          Plaintiffs demand a trial by jury on all claims and issues so triable.

                                        REQUEST FOR RELIEF

          WHEREFORE, Plaintiffs, individually and on behalf of the other members of the

   proposed Class, respectfully request that the Court enter judgment in Plaintiffs’ favor and against

   Defendants as follows:

          1.        Declaring that this action is a proper class action, certifying the Class as requested

   herein, designating Plaintiffs as class representatives, and appointing the undersigned counsel as

   class counsel;




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          2.      Ordering restitution and disgorgement of all profits and unjust enrichment that

   Defendants obtained from Plaintiffs and the Class members as a result of Defendants’ unlawful,

   unfair, and fraudulent business practices;

          3.      Ordering injunctive relief as permitted by law or equity, including enjoining

   Defendants from continuing the unlawful practices as set forth herein, and ordering Defendants

   to engage in a corrective advertising campaign;

          4.       Ordering all recoverable damages for Plaintiffs and the Class members;

          5.      Ordering Defendants to pay attorneys’ fees and litigation costs to Plaintiffs and

   other members of the Class;

          6.      Ordering Defendants to pay both pre- and post-judgment interest on any amounts

   awarded; and

          7.      Ordering such other and further relief as may be just and proper.


   Dated: August 26, 2020



                                          Respectfully submitted,

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